
*1170OPINION.
Marquette:
The facts in this proceeding are identical with those in E. F. Cremin v. Commissioner, 5 B. T. A. 1164, decided this day, except in that proceeding there was also involved the question of the amounts of deductions for depreciation of oil-well drilling equipment that should be allowed to certain partnerships of which E. F. Cremin was a member. Upon the authority of our decision in E. F. Cremin v. Commissioner, we hold (1) that we have no jurisdiction of this proceeding in so far as it relates to the petitioner’s tax liability for the year 1919; (2) that the amount of $10,000 paid to the petitioner on January 1, 1920, by the Eastern Torpedo Co., as salary for the year 1919, was income to him for the year 1920; and (3) that the amount included in the petitioner’s income for the year 1920, as liquidating dividends received from the Eastern Torpedo Co., should be reduced by the amount of income and profits taxes that were subsequently paid by him for the company.

Judgment will be entered on 15 days' notice, under Bule 50.

